    Case: 2:20-cv-05384-ALM Doc #: 9 Filed: 12/30/20 Page: 1 of 2 PAGEID #: 691




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


In re Kristen L. Bailey               :
                                       :              Case No. 2:20-cv-05384
                                       :
                                       :              CHIEF JUDGE ALGENON L. MARBLEY
                                       :
                                       :              U.S. Bankruptcy Court – Southern District
                                       :              of Ohio NO. 2:20-bk-51657
                                       :
_______________________________________

Abbey N. Silveous,                                :
                                                  : Case No. 2:20-cv-05387
               Appellant,                         :
                                                  : U.S. Bankruptcy Court – Southern District
       v.                                         : of Ohio NO. 2:20-ap-02072
                                                  :
Kristen L. Bailey,                                :
                                                  :
               Appellee.                          :


                                       OPINION & ORDER

       This matter is before the Court on Appellant Abbey N. Silveous’ Unopposed Motion to

Consolidate the two pending bankruptcy appeals. (2:20-cv-05384, ECF No. 7; 2:20-cv-05387,

ECF No. 7). For good cause shown, the Motions are GRANTED and the above-captioned cases

are hereby consolidated.

       Also before the Court is an Unopposed Motion for Extension of Time. (2:20-cv-05384,

ECF No. 8; 2:20-cv-05387, ECF No. 8). Ms. Silveous’ counsel was recently diagnosed with Covid-

19 and, as a result, requests an additional two weeks to file her first brief in the above appeals. Due

to this unavoidable health issue, this Court GRANTS the Motions for Extension of Time [#8]. The

parties are therefore DIRECTED to submit their briefs according to the following modified


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    Case: 2:20-cv-05384-ALM Doc #: 9 Filed: 12/30/20 Page: 2 of 2 PAGEID #: 692




schedule: Appellant’s Brief due January 18, 2021; Appellee’s Brief due February 16, 2021; and

Appellant’s Reply due March 2, 2021.



       IT IS SO ORDERED.




DATED: December 30, 2020
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                                          ALGENON
                                                ON L.
                                                   L MARBLEY
                                          CHIEF UNITED STATES DISTRICT JUDGE




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